        Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 1 of 19




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA                )
              v.                        )              Case No.: 1:21-CR-393
                                        )              Honorable David N. Hurd
CHRISTOPHER PENCE                       )              Senior U.S. District Judge
                                        )
                                        )
                    Defendant.          )

                DEFENDANT’S SENTENCING MEMORANDUM

                                    Introduction

      Christopher Pence stands before this Court for sentencing subsequent to his

plea of guilty entered via a conditional plea agreement pursuant to Rule 11(a)(2) on

December 6, 2023. On that date Mr. Pence pleaded guilty to a single count indictment

charging him with Use of a Facility of Interstate Commerce in Connection with

Murder for Hire in violation of 18 U.S.C. § 1958(a).

      Mr. Pence was arrested at his home in Cedar City Utah on October 27, 2021

following the execution of a search warrant by an F.B.I. lead team at his residence.

He has remained in custody since that date.

      For the reasons detailed herein, a below guideline sentence is appropriate. Mr.

Pence acknowledges the seriousness of his conduct and takes full responsibility for

his criminal actions. He is a family focused, educated professional with no prior

criminal history of any kind prior to this offense. As will be detailed herein, a below

guideline sentence of 48 months will meet the 18 U.S.C. § 3553(a) factors because the

unique facts of this case, although absolutely serious, do not necessitate punishment


                                            1
        Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 2 of 19




as contemplated by the guidelines.

             The Factors to Be Considered in Imposing Sentence

      Congress has set forth specific factors the Court should consider before

imposing a sentence. Title 18 U.S.C. § 3553 (a) directs the court to impose a sentence

sufficient, but not greater than necessary, to comply with the following purposes:

             (A)     to reflect the seriousness of the offense, to promote respect for the

             law, and to provide just punishment for the offense;

             (B)     to afford adequate deterrence to criminal conduct;

             (C)     to protect the public from for the crimes of the defendant; and

             (D)     to provide the defendant with the needed educational or

             vocational training, medical care, or other correctional treatment in the

             most efficient manner.

See, 18 U.S.C. § 3553 (a) (2).

In fashioning such a “sufficient, but not greater than necessary sentence,” the Court

must consider the nature and circumstances of the offense; the history and

characteristics of the offender; the kinds of sentences available; and the sentencing

range established by the guidelines. See, 18 U.S.C. § 3553 (a) (1), (3), (4).

                   The Nature and Circumstances of the Offense

      Mr. Pence and his wife Michelle have eleven biological children and five

adopted children. The five adopted children play a key role here. The Pence’s came

to adopt those kids from Francesco and Christina Cordero. The Corderos met the

Pences via an online group for parents of many children who homeschool. In 2019

                                            2
        Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 3 of 19




while the Pences were on a family vacation traveling on the East Coast Ms. Pence

received a message from Ms. Cordero that in substance indicated she was concerned

for the safety of her children and needed a reprieve from parenting so Ms. Cordero

and Mr. Cordero could address his addiction issues.

      The Pences discussed the matter and chose to meet the Corderos where they

lived in Massachusetts to see if they could help. After initially meeting the Cordero

family the Pences continued on their trip and further discussed the situation. They

ultimately decided to help, and returned to the Cordero’s home. All involved agreed

the Pences would care for the Cordero’s children and provide the requested reprieve.

The original plan was for this arraignment to last six months. However, the Corderos

asked to extend the reprieve to a year, and then to three years. During this period

the Corderos were under investigation from Massachusetts Department of Children

And Family Services [DCF]. When DCF learned the Corderos had sent their children

to live with the Pences, the arraignment became untenable. DCF would not allow the

long-term placement of the children with the Pences, and the Corderos would not

allow the children to return to Massachusetts where they would likely be separated

in foster care. A solution was reached – the Corderos consented to the adoption of the

children by the Pences.

      Over time the Pences learned that Francisco Cordero was suspected of abusing

the children prior to their being adopted. While verifying precisely what he did is not

possible in this context, DCF suspected the children were subject to physical and

sexual abuse by Franciso, and he may have abused drugs while caring for the children

                                          3
           Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 4 of 19




as well.

      By all accounts the Pences took wonderful care of their five adopted children,

but tension grew between the Corderos and the Pences after the adoption was

completed. Without agreement, the Corderos attempted to move onto the Pence’s

land in Texas, parking their trailer on the Pences’ property. It seemed the Corderos

wanted to eliminate DCF oversight, day to day parenting responsibilities, and even

rent, after they adopted their children out to the Pences. The Pences ultimately

moved from Texas to Utah, because of the unwelcome attempts at entry by the

Corderos into the day to day lives of the Pences.

      The situation described above provides critical context for Mr. Pence’s decision

making. When any person engages in criminal conduct, typically it is because of a

lapse in judgment. Sometimes that lapse in judgment is caused by mental health

issues, or addition issues, or anger management issues. Stress, alcohol, and

posttraumatic stress disorder are all factors that can cloud a person’s judgment and

enable criminal conduct where, with more clear thinking, nothing would have

happened. Even someone like Mr. Pence with no criminal history, a college education,

a high paying job and a happy family life, can still be find themselves in a position

that allows for their judgment to temporarily fail. That does not mean that person is

a life-long danger to a community. It means, that for a moment, they exhibited bad

judgment. This is exactly what happened to Christopher Pence.

      After agreeing to help the Corderos and take responsibility for their children

temporarily, then ultimately agreeing to adopt them and love them as his own

                                          4
       Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 5 of 19




children, Christopher learned more and more about the abusive behavior of Francesco

Cordero, all while, the Corderos continued to pressure their way directly into the

Pences’ lives. The Corderos ultimately sought the return of the children they had

voluntarily adopted out because they could not keep the children safe.

      This pressure became too much for Christopher. His judgment failed, and he

began to explore an option that he acknowledges now, no one should ever do. He went

on the internet, he logged into the “dark web” and reached out to a purported hitman.

He attempted to hire a hitman but, almost immediately realized his error, and sought

to cancel the job [see email communications canceling job and seeking refund,

attached here as Exhibit “A” at page 11, 14, and 16].

      A number of critical facts emerge here – there was no attempt ever made on

either of the Cordero’s lives. [See Dkt. No. 53, Plea Agreement at page 3-4]. It seems

the person Mr. Pence had briefly contracted with was not a hitman at all, but rather

a scam artist [see FBI Report 9/9/2021 166C-AL-3491673 Serial 1, attached here as

Exhibit “B” at page 2]. Mr. Pence understands that his criminal conduct is

unacceptable and the fact that nothing came of it does not absolve him of his crime.

Luckily there was no violence here, and no risk of violence.

      Also critical is the fact that Mr. Pence never threatened the Corderos. Nothing

in the plea agreement or PSR or anywhere else in the record indicates Mr. Pence ever

contacted the Corderos and said anything like “leave my family alone or you’ll regret

it”. The Corderos first learned of the facts here directly from the Government. Mr.

Pence, and no one on his behalf, ever made a threat to the Corderos [see FBI

                                          5
        Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 6 of 19




Investigation notes of conversation with the victims, attached here as Exhibit “C”]

The Corderos, even speculated to the F.B.I. about multiple people that could have

seen involved other than Chris Pence – clearly they had not received a threat from

Chris directly.

      In sum, clouded by the knowledge that his adopted children’s abusive birth

parents were seeking the return of their children, and refusing to follow the law and

the agreement the Corderos and Pences entered into, Christopher with his judgment

clouded, made the worst decision of his life.

      Lengthy incarceration is unnecessary to further reform Christopher. Certainly

the time he has spent in jail already would be more than sufficient to deter any future

bad behavior, and thankfully, because no one was ever even at risk of being harmed

here, the seriousness of the situation is luckily much lower than it could be. Because

no one was harmed, and because there was never even an attempt to hurt the victims

here, a sentence of 48 months plus three years PRS would be appropriate here.

                   The History and Characteristics of the Offender

      Christopher Pence is 43 years old. He was born in Kirkland Washington to

parents Shannon and Robyn Pence. Mr. Pence also has a sister, April, who is seven

years older than Christopher. Today Christopher has lots of support from his parents,

who live with wife and children in Cedar City Utah.

      Chris met his wife Michelle as teenagers, and they have been married since

1999. They lived in locations around Washington State until 2019, when because of

a need for larger housing for their growing family, they moved to Texas. The Pences

                                           6
        Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 7 of 19




moved to Texas to find more cost-effective housing. Ultimately, it was in Texas where

the Corderos initially attempted to squat on the Pences’ land, and ultimately because

of this difficult relationship, the Pences moved to Utah.

      Mr. and Ms. Pence have seventeen children in total – eleven birth children and

five adopted children. One of their daughters passed away due to sudden infant death

syndrome many years ago.

      Chris has dedicated his life to providing and caring for children. You can see

from his willingness to bring his adopted children into his already large family, that

if anything, he puts the wellbeing of children first. While there is no justification for

the actions he took here, the fact that Chris’s behavior was driven by a fear that the

children he had welcomed into his home as his own would be returned to suspected

child abusers who had cast their children away. He lost his otherwise good judgment,

went on the internet and took steps no-one regrets more now than him. A below

guideline sentence is appropriate here when all of these factors are considered.


                            The Guideline Calculation

Offense Level

      Per the plea agreement, Mr. Pence’s base offense level is seven per U.S.S.G. §

2E1.4 is 32.

      The government has agreed to recommend a two-level downward adjustment

pursuant to U.S.S.G. § 3E1.1(a) based on defendant’s acceptance of responsibility and

an additional one-level reduction based on the timeliness of that acceptance per



                                           7
        Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 8 of 19




U.S.S.G. §3E1.1(b).

      Based on the above adjustments contained in the plea agreement, the

defendant’s total offense level is twenty-nine.

Criminal History Score

      The Mr. Pence’s criminal history score as assessed by the Probation

Department is zero. His presumptive criminal history category is therefore Category

I. The defendant adopts Probation’s assessment of his criminal history score.

Zero-Point Offender Adjustment

      Per the plea agreement, the parties were unable to agree as to the applicability

of the Zero Point Offender adjustment contained U.S.S.G. § 4C1.1. Mr. Pence meets

all of the criteria contemplated by the guideline to receive this two-point downward

adjustment. A defendant qualifies for the downward adjustment when he or she

meets all of the following criteria:

             (1) the defendant did not receive any criminal history points from
                 Chapter Four, Part A;

             (2) the defendant did not receive an adjustment under §3A1.4
                 (Terrorism);

             (3) the defendant did not use violence or credible threats of violence in
                 connection with the offense;

             (4) the offense did not result in death or serious bodily injury;

             (5) the instant offense of conviction is not a sex offense;

             (6) the defendant did not personally cause substantial financial
                 hardship;

             (7) the defendant did not possess, receive, purchase, transport, transfer,

                                           8
           Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 9 of 19




                  sell, or otherwise dispose of a firearm or other dangerous weapon (or
                  induce another participant to do so) in connection with the offense;

               (8) the instant offense of conviction is not covered by §2H1.1 (Offenses
                   Involving Individual Rights);

               (9) the defendant did not receive an adjustment under §3A1.1 (Hate
                   Crime Motivation or Vulnerable Victim) or §3A1.5 (Serious Human
                   Rights Offense); and

               (10) the defendant did not receive an adjustment under §3B1.1
                  (Aggravating Role) and was not engaged in a continuing criminal
                  enterprise, as defined in 21 U.S.C. § 848. See U.S.S.G. § 4C1.1(a).

Mr. Pence clearly meets the requirements of paragraphs, 1, 2, 5, 6, 7, 8, 9, and 10 on

their faces.

       The ten criteria set forth above fall into two categories – criteria looking at the

behavior of the defendant expressly, and criteria looking at the nature of the offense.

Subparagraphs 1, 2, 3, 6, 7 ,9 and 10 each include the language “the defendant did

not”. Criteria 4, 5, and 8 use language that is focused specifically on the offense. This

statutory construction is critical – it tells us that certain criteria should be applied

specifically to a defendant’s conduct, and certain criteria are applied based on the

offense.

       Comparing criteria 3 and 4 is illuminating. Subparagraph 3 looks at whether

or not a defendant used violence or credible threats of violence in connection with the

offense. Subparagraph 4 looks at whether or not a death or serious bodily injury

occurred as a result of the offense. Subparagraph 3 is looking specifically at an

individual defendant’s conduct, while subparagraph 4 looks at the broader impact of

the entire offense.

                                            9
       Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 10 of 19




      A logical application of this analysis would be a large-scale drug conspiracy

where co-conspirators caused serious injury to a person in the course of the

conspiracy, but an individual defendant was not personally responsible for that

conduct. In that situation, a defendant would not receive the zero-point offender

credit because the offense resulted in a serious bodily injury.

      Comparing our facts here to the above example is illuminating. Mr. Pence

meets the criteria under subparagraph 4 because his offense did not result in a death

or serious bodily injury to another person.

      Mr. Pence also meets the requirements of subparagraph three. Preliminarily,

it is clear that the Sentencing Commission did not expressly exclude application of

U.S.S.G. § 4C1.1 to people convicted of a crime of violence as it is defined at U.S.S.G.

§ 4B1.1(a). If the Commission intended to categorically exclude that type of offense

they certainly would have. This is evidenced by the categorical exclusion of all sex

offenses contained at subparagraph 5 of U.S.S.G. § 4C1.1(a). The only logical reading

of U.S.S.G. § 4C1.1(a)(3) is that the Sentencing Commission intended the obvious

common meanings of the words used in the paragraph. Subsection 3 looks at the

defendant’s own conduct and asks if that defendant used violence or a threat of

violence.

      Applying that analysis to the facts here, it is clear Mr. Pence meets the criteria

in U.S.S.G. § 4C1.1(a)(3).   Subsection 3 sets out two factual situations that would

disqualify a defendant from receiving credit under U.S.S.G. § 4C1.1. First, a

defendant’s use of violence would be disqualifying. The parties agree that “no attempt

                                          10
       Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 11 of 19




was made on the lives of the intended victims.” [Dkt. No. 53, Plea Agreement at page

3-4]. It is straightforward that there was no actual violence here. The defendant

personally did not use violence and no other person did.

       The defense anticipates the government will argue the second clause within

U.S.S.G. § 4C1.1(a)(3), which excepts out defendants who use “credible threats of

violence in connection with the offense” applies here. This interpretation is

inconsistent with the guidelines definition of threats and the common meaning of the

word threat, and should not be adopted by the Court. Mr. Pence’s conduct was not a

disqualifying “credible threat of violence.”

       The Oxford Dictionary definition of threat is: “a statement of an intention to

inflict pain, injury, damage, or other hostile action on someone in retribution for

something done or not done.” [emphasis added]. For a threat to exist, there has to be

some sort of statement made from the defendant to a victim, express or implied, that

a defendant will do something bad to the victim if a defendant does not get his or her

way.

       While U.S.S.G. § 4C1.1 lacks an express definition of “credible threat of

violence”, the Guidelines contemplate threats in more than one location. A threat of

death is defined expressly at U.S.S.G. § 2B3.1 note 6. That note is illuminating:

             A threat of death, as used in subsection (b)(2)(F), may be in the form of
             an oral or written statement, act, gesture, or combination thereof.
             Accordingly, the defendant does not have to state expressly his intent to
             kill the victim in order for the enhancement to apply. For example, an
             oral or written demand using words such as “Give me the money or I will
             kill you”, “Give me the money or I will pull the pin on the grenade I have
             in my pocket”, “Give me the money or I will shoot you”, “Give me your

                                           11
       Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 12 of 19




             money or else (where the defendant draws his hand across his throat in
             a slashing motion)”, or “Give me the money or you are dead” would
             constitute a threat of death…. [emphasis added].

Clearly, the Sentencing Commission contemplated that a threat to exist there needs

to be a do this or else communication between the defendant and the victim. U.S.S.G.

§ 2B3.1 note 6 continues to on to make clear the need for the threat to be a

communication between a defendant and his or her victim:

             The court should consider that the intent of this provision is to provide
             an increased offense level for cases in which the offender(s) engaged in
             conduct that would instill in a reasonable person, who is a victim of the
             offense, a fear of death.

It’s clear here - a death threat needs to be made by a defendant to a victim and scare

the victim into thinking he or she will be killed during the commission of the offense.

Whether express or implied, the threat needs to be a communication between the

defendant and the victim.

      The guidelines also address threats at U.S.S.G. § 2B3.2 note 2. There, the

Sentencing Commission reinforces the principal that:

             any threat, express or implied, that reasonably could be interpreted as
             one to injure a person or physically damage property, or any comparably
             serious threat, such as to drive an enterprise out of business. Even if the
             threat does not in itself imply violence, the possibility of violence or
             serious adverse consequences may be inferred from the circumstances
             of the threat or the reputation of the person making it. An ambiguous
             threat, such as “pay up or else,” or a threat to cause labor problems,
             ordinarily should be treated under this section. [emphasis added].

In plain language, for there to be a threat under the guidelines, there must be a

circumstance where a defendant is making an express or implied statement of

violence directed at the victim. The “or else” part of “pay up or else” is the threat.

                                           12
       Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 13 of 19




       In our case, the Court should apply the same interpretation of the word threat

to the “did not use a credible threat of violence” language contained in U.S.S.G. §

4C1.1(a)(3) that is contained within U.S.S.G. § 2B3.1 note 6 and § 2B3.2 note 2. Any

other reading would make the guidelines contradictory. Chris Pence simply did not

threaten the Corderos. The victims were unaware of the defendant’s actions until the

Government alerted them to the investigation. There was no “or else” communication

between Mr. Pence and the Corderos. In fact, the email communications reproduced

in the PSR make it clear – there is only one logical interpretation of those messages

– the writer did not want anyone to make any association between him and his plan.

There was no “leave us alone or I’ll kill you” or even a “leave us alone or else”

communication between Mr. Pence and the Corderos. In the absence of that type of

communication, there was simply no credible threat of violence that would disqualify

Mr. Pence from receiving zero-point offender credit.

      This interpretation is further supported by the language used in the Safety

Valve provisions contained in U.S.S.G. § 5C1.2(a)(2) uses similar language to the

zero-point offender language at issue here. Safety Valve eligibility requires that a:

defendant did not use violence or credible threats of violence or possess a firearm or

other dangerous weapon (or induce another participant to do so) in connection with

the offense.” The Safety Valve language contains similar but enhanced criteria

compared to zero-point offender. In safety valve, if a defendant induces another to

use violence or a credible threat of violence, they are not safety valve eligible. The

lack of that language in zero-point offender is critical – clearly the Commission was

                                          13
       Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 14 of 19




interested in the individual defendant’s conduct only in the new guideline section.

      These are key differences between the Safety Valve and Zero-Point Offender

guidelines. U.S.S.G. § 4C1.1(a)(3) does not contain the language “induces another

participant to do so”. The Sentencing Commission in creating the zero-point offender

guideline used language similar, but not identical to that of Safety Valve. They could

only have done that with the intention of the differences being important. Otherwise,

the Commission could have directly copied the language used in U.S.S.G. §

5C1.2(a)(2) directly into U.S.S.G. § 4C1.1(a)(3). This distinction should not be ignored

in the interpretation of this guideline.

      This interpretation is consistent with U.S. Supreme Court and Circuit case law

reviewing cases with a threat as an element of the crime. To even begin analysis over

the existence of “a credible threat of violence” at its base there needs to be some form

of statement flowing from the defendant to the victim. See Watts v. United States, 394

U.S. 705, 705, (1969) (holding that defendant’s statement “If they ever make me carry

a rifle the first man I want to get in my sights is L. B. J.” was not a threat because it

was constitutionally protected political speech.); see also United States v. Valerio, 472

Fed. Appx. 61, 62 (2d Cir. 2012) (analyzing a letter defendant letter sent to a co-

conspirator which was determined to be a credible threat of violence at the District

Court.), see also United States v. Fernandez, 636 Fed. Appx. 71, 74 (2d Cir. 2016)

(holding that the defendant’s statement “he would go up in there and he would stab

everybody up” made in earshot of the victim, was a credible threat of violence.”). The

key point here, is not what was said specifically in each of those cases, it is that the

                                           14
       Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 15 of 19




Courts review of threats at a preliminary level, requires a statement threatening

another person in some way. Here, there was no statement by Mr. Pence threatening

the Corderos. He did not announce publicly that he intended to kill them as in Watts,

he did not send the Corderos a letter as in Valerio, and he did not threaten them by

speaking directly to them or in a place they would hear him as in Fernandez. There

is simply no way what Mr. Pence did in this case can be qualified as a credible threat

of violence.

       There is a critical distinction between a “risk” of violence and a “threat” of

violence that the Government’s anticipated interpretation of U.S.S.G. § 4C1.1 lacks.

Conduct that creates a risk of violence is not a disqualifying factor under U.S.S.G. §

4C1.1(a)(3). In the absence of the actual use of violence by a defendant or a credible

threat of violence, subsection 3 is not implicated.     Here – had a hitman acted

subsection 4 would have been likely implicated (the offense would have resulted in

serious bodily injury or death). But where those facts are absent, and the defendant’s

personal conduct does not involve violence or a threat of violence, he is not

disqualified under U.S.S.G. § 4C1.1(a)(3). Mr. Pence’s conduct does not disqualify him

from receiving zero-point offender credit. Mr. Pence meets each of the criteria set

forth in U.S.S.G. § 4C1.1(a) and should receive a two-level downward adjustment in

his offense level.

       Based on a criminal history category of I, and an offense level of twenty-seven

the appropriate guideline range is 70 to 87 months. There is no mandatory minimum

sentence here. The statutory maximum sentence is 120 months.

                                          15
       Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 16 of 19




             Sufficient but Not Greater than Necessary Sentence

      Christopher has accepted responsibility for her role in this case. There should

be no doubt in the Court’s mind that a guideline sentence is not necessary here to

meet the 18 U.S.C. § 3553(a) factors. I have conferenced with Mr. Pence, and he

understands the need for a serious penalty to deter others from similar conduct and

has asked me to request the Court consider a sentence of 48 months. Such a sentence

would make clear that there are serious consequences for this type of criminal

behavior while allowing him to return to the community and begin making amends.

He has tremendous family support and will be successful on post-release supervision.

Because no one was harmed. Because there was in fact no hit attempted. Because Mr.

Pence retracted his request almost as fast as he sent it. Because he has never been

in trouble before. Because if the Court grants the requested downward deviation, Mr.

Pence would still spend four years in Federal Prison, and for all the other reasons

contained herein, we would request the Court sentence Christopher to a forty-eight

months plus three years of post-release supervision.

The Court Should Approve the Conditional Plea Agreement and Allow Mr.
 Pence’s Limited Appeal and Grant a Downward Deviation in Sentencing

      Mr. Pence’s plea was entered pursuant to Rule 11(a)(2) and would allow Mr.

Pence to preserve his right to appeal. The 1983 amendment to the Federal Rules of

Civil Procedure created the conditional plea contemplated by Rule 11(a)(2). The 1983

advisory committee notes make it clear that the conditional plea was a statutory

construction to allow for judicial efficiency and avoid delay caused by unnecessary



                                         16
       Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 17 of 19




trials. The Committee noted that:

             a defendant who has lost one or more pretrial motions will often go
             through an entire trial simply to preserve the pretrial issues for later
             appellate review. This results in a waste of prosecutorial and judicial
             resources, and causes delay in the trial of other cases, contrary to the
             objectives underlying the Speedy Trial Act of 1974, 18 U.S.C. § 3161 et
             seq. These unfortunate consequences may be avoided by the conditional
             plea device expressly authorized by new subdivision (a)(2).

The conditional plea agreement here provides for judicial efficiency and preservation

of prosecutorial resources.

      Mr. Pence has accepted responsibility here and waived his trial rights,

acknowledging that the evidence against him would be difficult to overcome at trial.

On the advice of defense counsel, Mr. Pence has sought to maintain his legal right to

appeal the limited issue of the Court’s Memorandum-Decision and Order issued on

October 18, 2023 [Dkt. No. 52]. An alternative ruling on the defendant’s suppression

motion could be potentially dispositive in nature. The conditional plea here is exactly

what is contemplated by the Rule 11(a)(2) and should be allowed by the Court – rather

than proceeding to a time-consuming trial only to preserve this limited appellate

issue, the defendant has accepted responsibility, and seeks to maintain his limited

right to appeal without requiring a full trial, on his attorney’s advice.

      The conditional nature of the plea should not be interpreted in any way as Mr.

Pence not timely accepting responsibility as contemplated in U.S.S.G. § 3E1.1(a) and

U.S.S.G. §3E1.1(b). The entry of the conditional plea of by Mr. Pence was expressly

made to allow the Government to avoid the use of additional resources to in preparing

for trial. Clearly Mr. Pence takes responsibility for his actions.

                                           17
       Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 18 of 19




                                     Conclusion

      Mr. Pence makes no excuses for his behavior and accepted responsibility for

his conduct. He understands a lengthy prison sentence is a likely outcome here, and

still, he took responsibility for his criminal act. But a lengthy prison sentence is not

necessary here – it does not meet any of the 3553(a) factors and would be a

disproportionate penalty compared to the nature of Mr. Pence’s behavior. Based on

the nature and circumstances of the offense a sentence forty-eight months plus three-

years post-release supervision is sufficient but not greater than necessary under the

circumstances of this case.

Dated: March 12, 2024

                                                      /s/Eric K. Schillinger
                                                      Eric K. Schillinger
                                                      Attorney for Christopher Pence
                                                      Bar No.: 516083
                                                      11 North Pearl Street, Ste 1700
                                                      Albany, New York 12207
                                                      (518) 595-9529
                                                      eric@schillinger-law.com




                                          18
      Case 1:21-cr-00393-DNH Document 56 Filed 03/12/24 Page 19 of 19




                        CERTIFICATE OF SERVICE

      On the above date the sentence memorandum was filed with the court, and

delivered via ECF to the following parties: AUSA Emmet O’Hanlon, Esq.


Dated: March 12, 2024
                                                 /s/Eric K. Schillinger
                                                 Eric K. Schillinger
                                                 Attorney for Christopher Pence
                                                 11 North Pearl Street, Ste 1700
                                                 Albany, New York 12207
                                                 (518) 595-9529
                                                 eric@schillinger-law.com




                                       19
